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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                4:07CR3169
                                     )
           v.                        )
                                     )
ANA C. CALIX,                        )                   ORDER
                                     )
                Defendant.           )
                                     )


     IT IS ORDERED:

     The motion of Jon Placke to withdraw as counsel of record
for defendant Calix, filing 33, is granted.


     DATED this 31st day of January, 2008.


                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
